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16                             IN THE UNITED STATES DISTRICT COURT
17                                     FOR THE DISTRICT OF ARIZONA
18

19   United States of America,                        Case No. 2:18-cr-00422-PHX-SMB
20                        Plaintiff,                  NOTICE OF FILING
21   vs.                                              DEFENDANTS’ PROPOSED
                                                      SUPPLEMENTAL JURY
22   Michael Lacey, et al.,                           QUESTIONNAIRE QUESTIONS
23                        Defendants.
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     3709425.1 DEFENDANTS’ PROPOSED SUPPLEMENTAL JURY QUESITONNAIRE QUESTIONS
          Case 2:18-cr-00422-DJH Document 1172 Filed 06/10/21 Page 2 of 5



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     3709425.1 DEFENDANTS’ PROPOSED SUPPLEMENTAL JURY QUESITONNAIRE QUESTIONS
           Case 2:18-cr-00422-DJH Document 1172 Filed 06/10/21 Page 3 of 5



 1           Defendant James Larkin, Michael Lacey, Scott Spear, John Brunst, Andrew Padilla, and
 2   Joye Vaught (collectively, “Defendants”) and the government jointly filed the proposed jury
 3   questionnaire on June 26, 2020 (Doc. Nos. 1029, 1029-1), which the Court modified at the
 4   hearing on June 7, 2021. In light of the significant social and political changes in the past year,

 5   at Monday’s hearing before this Court, defense counsel requested leave to propose additional

 6   questions. The Court instructed defense counsel to file proposed questions by close of business

 7   on Thursday, June 10, 2021. See Doc No. 1170. Accordingly, this filing follow. Defense counsel
     conferred with government counsel, and the government’s objections to Defendants’ proposed
 8
     questions are noted in the document.
 9
10
     RESPECTFULLY SUBMITTED this 10th day of June 2021,
11

12                                                              BIENERT KATZMAN LITTRELL
                                                                WILLIAMS LLP
13                                                              s/ Whitney Z. Bernstein
                                                                Thomas H. Bienert, Jr.
14                                                              Whitney Z. Bernstein
15                                                              Attorneys for James Larkin

16   Pursuant to the District’s Electronic Case Filing Administrative Policies and Procedures Manual (Oct. 2020) §
     II(C)(3), Whitney Z. Bernstein hereby attests that all other signatories listed, and on whose behalf this filing is
17
     submitted, concur in the filing’s content and have authorized its filing.
18
                                                                LIPSITZ GREEN SCIME CAMBRIA LLP
19                                                              s/ Paul J. Cambria, Jr.
                                                                Paul J. Cambria, Jr.
20
                                                                Erin McCampbell Paris
21                                                              Attorneys for Michael Lacey
22                                                              BIRD MARELLA BOXER WOLPERT
23                                                              NESSIM DROOKS LINCENBERG AND
                                                                RHOW PC
24                                                              s/ Ariel A. Neuman
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            DEFENDANTS’ PROPOSED SUPPLEMENTAL JURY QUESTIONNAIRE QUESTIONS
     Case 2:18-cr-00422-DJH Document 1172 Filed 06/10/21 Page 4 of 5



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 7                                       JOY BERTRAND ESQ LLC
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 9                                       Attorneys for Joye Vaught
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     DEFENDANTS’ PROPOSED SUPPLEMENTAL JURY QUESTIONNAIRE QUESTIONS
            Case 2:18-cr-00422-DJH Document 1172 Filed 06/10/21 Page 5 of 5



 1                                        CERTIFICATE OF SERVICE
 2               I hereby certify that on June 10, 2021, I electronically transmitted the attached document
 3   to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of Electronic
 4   Filing to the CM/ECF registrants who have entered their appearance as counsel of record.
 5
                                                    /s/ Toni Thomas
 6                                                  Toni Thomas
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     3709425.1                              CERTIFICATE OF SERVICE
